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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

ASHANTE DOMINIQUE SEGUE, NATURAL * CIVIL ACTION
TUTRIX OF HER MINOR SON, K. A. &

VERSUS * NO.

WALMART INC., JOHN OR JANE DOE, * JURY TRIAL
ABC REPAIR AND MAINTENANCE *

COMPANY, ABC WALK-IN FREEZER *

MANUFACTURING COMPANY, ABC *

INSURANCE COMPANY, DEF INSURANCE *

COMPANY, AND GHI INSURANCE *

COMPANY *

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NOTICE OF REMOVAL

TO: The Honorable Judges
of the United States District Court
for the Eastern District of Louisiana

Defendant, Walmart Inc. (hereinafter referred to as “Walmart’’), files this Notice of
Removal pursuant to 28 U.S.C. §§ 1332 and 1441, and hereby removes this matter from Civil
District Court for the Parish of Orleans, State of Louisiana, to the docket of this Honorable Court
on the grounds set forth below:

1. Plaintiff filed her Petition for Damages on June 17, 2021, against Walmart; and the
following fictitious defendants “John or Jane Doe,” ABC Repair and Maintenance Company,
ABC Walk-in-Freezer Manufacturing Company, and three insurance companies identified by
random letters of the alphabet. (See Plaintiffs Petition for Damages, attached hereto and marked
for identification as Exhibit “A”’).

2. Walmart Inc. was served through its agent for service of process, CT Corporation,
with a copy of the Citation and Petition on July 6, 2021. (See CT Corporation Service of Process

Transmittal Notice and Citation attached hereto in globo and marked for identification as Exhibit
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“B.””)

3. Plaintiff's complaint alleges that Gavan Amos is the deceased father of the minor
child K. A.. Plaintiff has filed suit on behalf of her minor son, K. A. The suit is a wrongful death
and wrongful survival action, which seeks damages, in part, from Walmart and “John or Jane
Doe,” a fictitious defendant, for personal injuries allegedly sustained by Gavin Amos and
damages sustained by K. A. for the death of Gavin Amos as a result of an incident that occurred
at the Wal-Mart store located in New Orleans, Louisiana, on or about June 17, 2020.

4, It is facially apparent from the petition, captioned ‘Petition for Damages and
Damages for Wrongful Death” that the claim likely exceeds $75,000.00,

5. In Paragraphs 7 and 8 of Plaintiff's Petition, Plaintiff alleges that as a result of the
alleged incident, Gavin Amos underwent knee surgery and then subsequently died on August 2,
2020 as a direct result of the injuries sustained in the accident of June 17, 2020.

6. With respect to the amount in controversy requirement, Walmart’s removal is
based on (1) Gavin Amos’ alleged knee surgery; and (2) Gavin Amos’ alleged death, both of
which Plaintiff is relating to the subject incident.

7. Based on the allegations of the face of the Petition for Damages, Walmart contends
that the amount in controversy exceeds $75,000.00, and therefore files this removal.

I. REMOVAL IS PROPER BECAUSE THIS COURT HAS SUBJECT MATTER
JURISDICTION PURSUANT TO 28 U.S.C. § 1332.

8. 28 U.S.C. § 1332 provides federal district courts with concurrent original
jurisdiction in cases “where the matter in controversy exceeds the sum or value of $75,000.00,

exclusive of interest and costs, and is between - (1) citizens of different States.”
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A. THE AMOUNT IN CONTROVERSY EXCEEDS $75,000.00.

9. The Fifth Circuit has explained that for purposes of establishing removal
jurisdiction, a defendant may demonstrate that the amount in controversy exceeds $75,000.00,
“in either of two ways: (1) by demonstrating that it is ‘facially apparent’ from the petition that the
claim likely exceeds $75,000.00 or (2) ‘by setting forth the facts in controversy-preferably in the
removal petition, but sometimes by affidavit-that support a finding of the requisite amount.”
Grant v. Chevron Phillips Chemical Co., 309 F.3d 864, 868 (Sth Cir. 2002) (italics in original)
(quoting Allen v. R & H Oil & Gas Co., 63 F.3d 1326, 1335 (Sth Cir.1995)).

10. The Petition for Damages alleges that as a result of the alleged incident, Gavin
Amos underwent knee surgery and then subsequently died on August 2, 2020.

11. Plaintiffs Petition for Damages does not offer a binding stipulation that plaintiff
will not seek to enforce any judgment that may be awarded in excess of $75,000.00, as would be
required pursuant to Davis vy. State Farm, No. 06-560, slip op. (E.D. La. June 7, 2006).

12. While Walmart admits no liability, nor any element of damages, Walmart has met

its burden of showing that the amount in controversy is in excess of SEVENTY-FIVE

THOUSAND AND 00/100 DOLLARS ($75,000.00), exclusive of interest and costs.
B. COMPLETE DIVERSITY

13. Defendant, Walmart Inc., is a Delaware corporation with its principal place of
business in Bentonville, Arkansas, which is a publicly held company.

14. Plaintiff is a resident of and domiciled in St. Bernard Parish, State of Louisiana.

15. Defendant “John or Jane Doe” is a fictitious defendant, whose citizenship should be

disregarded under 28 U.S.C. § 1441(b)(1).
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16. ABC Repair and Maintenance Company, ABC Walk-in-Freezer Manufacturing
Company, ABC Insurance Company, DEF Insurance Company, and GHI Insurance Company
are all fictitious defendants, whose citizenship should be disregarded under 28 U.S.C. §
1441(b)(1).

17. Accordingly, there is complete diversity of citizenship between the plaintiff and the
defendants.

18. This is a civil action over which the United States District Court for the Eastern
District of Louisiana has concurrent original jurisdiction under the provisions of 28 U.S.C. §
1332, ef seg., as the amount in controversy, evidenced by the face of the Petition, exceeds
SEVENTY-FIVE THOUSAND AND 00/100 DOLLARS ($75,000.00), exclusive of interest and
costs, and complete diversity exists between all adverse patties.

I. WALMART HAS SATISFIED THE PROCEDURAL REQUIREMENTS FOR
REMOVAL

19. Walmart was served with the Petition through its agent for service of process, CT
Corporation Systems, on July 6, 2021.

20. The other named defendants have not yet been served as Plaintiff has withheld
service onto them.

21. Itis facially apparent from the petition for that the claim likely exceeds $75,000.00
because it alleges that as a result of the alleged incident, Gavin Amos underwent knee surgery
and then subsequently died on August 2, 2020.

22. This Notice of Removal is being filed within thirty (30) days after Walmart was
served with the Petition through its agent for service of process, CT Corporation Systems, on
July 6, 2021.

23. Jurisdiction is founded in the existence of diversity jurisdiction under 28 U.S.C. §
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1332, which grants federal courts concurrent original jurisdiction over claims where the matter in
controversy exceeds the sum or value of SEVENTY-FIVE THOUSAND AND _ 00/100
DOLLARS ($75,000.00), exclusive of interest and costs, and is between citizens of different
States.

24. Civil District Court for the Parish of Orleans, State of Louisiana, is located within
the Eastern District of Louisiana pursuant to 28 U.S.C. § 98(a). Therefore, venue is proper in
accordance with 28 U.S.C. § 1441(a) because it is the “district and division embracing the place
where such action is pending.”

25. No previous application has been made by Walmart in this case for the relief
requested herein.
| 26. Pursuant to 28 U.S.C. § 1446(a), a copy of the Petition is attached hereto as
Exhibit “A.” Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being served
upon counsel for plaintiff, and a copy is being filed with the Clerk of Court for Civil District
Court for the Parish of Orleans, State of Louisiana.

27. Walmart desires and is entitled to a trial by jury of all issues herein.

WHEREFORE, Defendant, Walmart Inc., hereby removes this action from Civil District
Court for the Parish of Orleans, State of Louisiana, to the docket of the United States District
Court for the Eastern District of Louisiana.

Signature and Certificate of Service on next page.
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Respectfully submitted,

/s/ Christopher James-Lomax

SIDRO RENE DEROJAS (#18182)

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ATTORNEYS FOR DEFENDANT, WALMART INC.

CERTIFICATE OF SERVICE
I hereby certify that a copy of the above and foregoing was filed electronically with the
Clerk of Court using the CM/ECF system. Notice of this filing will be sent to all counsel by
operation of the Court’s electronic filing system this 3" day of August, 2021.

/s/ Christopher James-Lomax
